             Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 1 of 13




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 Attorneys for Plaintiff

                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO



 BROOKS WANN, through his guardian                     Case No.
 BRENDA WANN,

                                  Plaintiff,            COMPLAINT FOR inter alia
                                                           TEMPORARY AND
 vs.                                                    PERMANENT INJUCTIVE
                                                       RELIEF AND DECLARATORY
 VALLIVUE SCHOOL DISTRICT No. 139,                            JUDGMENT


                               Defendant.



          The Plaintiff, by and through his attorney Chynna C. Simmons of SIMMONS TOWNSEND
PLLC
       , complains against the defendant as follows:

                           PRELIMINARY STATEMENT AND PARTIES

           1. The plaintiff, Brooks Wann, (hereinafter “Plaintiff”) is a 17-year-old student of




  COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
  AND DECLARATORY JUDGMENT – Page | 1
         Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 2 of 13



Ridgevue High School, in the Vallivue School District No. 139, who is currently scheduled to

graduate in Spring of 2019.

        2. Brenda Wann (hereinafter “Guardian”) is the mother and legal guardian of Brooks

Wann.

        3. Defendant Vallivue School District No. 139 (hereinafter “the District” or “Defendant”)

is a duly constituted school district and a body corporate Vallivue School District No. 139 is a

political subdivision, body corporate and politic of the State of Idaho, organized and operating

under the laws of the State of Idaho and subject to certain federal statutes and constitutional

provisions more fully set forth in this Complaint. The District is a “person” under the laws and

Constitution of the United States of America and at all times relevant hereto, the District, and its

officers, agents, employees, attorneys, and all persons who are in active concert or participation

with it, as set forth in more detail herein, were acting under color of law.

        4. The District is governed by a Board of Trustees, which Board holds policymaking,

administrative, and adjudicative authority for the school district with respect to the policy and

procedure provided during disciplinary and expulsion hearings.

        5. The undisclosed witness statements and the Districts adjudication procedures violate

the Supremacy Clause of U.S. CONST. Art. VI, and the Due Process Clause of U.S. CONST. Amend.

XIV, including among other’s Plaintiff’s constitutional right to an education and to confront

witnesses against him.




 COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
 AND DECLARATORY JUDGMENT – Page | 2
            Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 3 of 13



                                          JURISDICTION

       6.      The plaintiffs bring actions for injunctive and declaratory relief because of

violations of the Supremacy Clause of U.S. CONST. Art. VI, and the Due Process Clause of U.S.

CONST. Amend. XIV. The claims asserted herein do not involve injury to persons or property and

therefore do not fall within the Idaho Tort Claims Act, Idaho Code § 6-901 et seq.

       7.      This Court has jurisdiction over the plaintiffs’ 42 U.S.C. § 1983 and Supremacy

Clause claims under 28 U.S.C. § 1331. It also has jurisdiction over the plaintiffs’ 42 U.S.C. § 1983

claims under 28 U.S.C. § 1343(a)(3). It has jurisdiction to grant declaratory and injunctive relief

under 28 U.S.C. §§ 2201–2202 and F.R.C.P. 65. And it has jurisdiction under 28 U.S.C. § 1367(a)

over all of the plaintiffs’ other claims because those claims form part of the same case or

controversy, under U.S. CONST. Art. III, as the plaintiffs’ other claims. Under 28 U.S.C. §1367, this

court also has concurrent and/or supplemental jurisdiction with the courts of the State of Idaho over

claims arising under the laws and Constitution of the State of Idaho as recognized by a court of the

9th Circuit Angioscore, Inc. TriReme Med, Inc., 84 F.Supp.3d 767 986, 999 (N. D. Cal 2015).

       8.      The court further has jurisdiction by reason of Defendant’s acting under color of

state law depriving Plaintiff of the rights, privileges and immunities secured by the Equal Protection

Clause of the 14th Amendment of the United States Constitution and 42 U.S.C §1984 and

enforcement of violations under 28 U.S.C. §2201-2202 because Plaintiff seeks a declaration of his

federal civil rights; in the form of a judgment that his civil rights have been violated rather than

judgment for declaratory relief.




  COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
  AND DECLARATORY JUDGMENT – Page | 3
            Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 4 of 13



       9.       Venue is proper in this Court and District, under 28 U.S.C. § 1391(b), because, on

information and belief, the defendants are subject to personal jurisdiction in this District and

because many of the events and omissions giving rise to the plaintiffs’ claims occurred in this

District of Idaho.

                                    FACTUAL BACKGROUND

       10.    Plaintiff, born on February 23, 2001, is a seventeen-year-old, residing in the Vallivue

 School District No. 139.

       11.    Up until February 20, 2018, Plaintiff was a student at Ridgevue High School

 (hereinafter “Ridgevue”), located in the Vallivue School District No. 139. Plaintiff was a junior

 during the 2017/2018 school year. Plaintiff was also a member of the Ridgevue football, wrestling,

 and baseball teams.

       12.    During both term 1 and term 2 of the 2017/2018 School year, Plaintiff was enrolled in

 advanced classes including Advance Placement English, Advance Placement US History, Pre-

 Calculus, and Anatomy and Physiology. Plaintiff was an honor roll student every term during his

 enrollment at the Ridgevue and maintained a cumulative grade point average of 3.363.

       13.    Plaintiff was and is reasonably believed to qualify for both athletic and academic

 scholarships for college.

       14.    Prior to February 2018, Plaintiff was disciplined once on December 2, 2016, for eating

 in class. Plaintiff had no other disciplinary issues.

       15.    On the morning of Friday, February 9, 2018, Plaintiff attended football weight training

 with the Ridgevue football team.


  COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
  AND DECLARATORY JUDGMENT – Page | 4
         Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 5 of 13



      16.   Plaintiff and two of his friends, M.S. and J.M. drove in Plaintiff’s car to get breakfast

after weight training. While in the parking lot, Plaintiff, M.S. and J.M. exchanged friendly banter

and consensual horse play. This conduct continued into the locker room.

      17.   J.M. repeatedly instigated and continued the horse play while in the Ridgevue parking

lot and into the Ridgevue locker room. J.M.’s locker was in a separate locker room from Plaintiff

and M.S. but J.M. repeatedly ran into the locker room of M.S. and Plaintiff and continued to

instigate horse play.

      18.   M.S. recorded several shot videos of the horse play on “Snapchat.”

      19.   J.M. never complained about the horse play or the video to Plaintiff. J.M. did not ask

Plaintiff to stop, gave no indication of discomfort, fear, or non-consent to the horse play, and in

fact re-instigated the horse play by trying to “scare” or prank Plaintiff multiple times during the

approximately 20 minutes in which the horse play sporadically occurred. J.M. was laughing

continuously throughout the horse play.

      20.   All parties were clothed during these events.

      21.   After showering and changing, all three students socialized over breakfast in the

cafeteria. All three students, including J.M. laughed about the videos and horse play.

      22.   M.S. and Plaintiff attended a football meeting where they attempted to show their

football coach one of the videos. The coach did not want to watch the video and proceeded to

conduct the football meeting.

      23.   M.S. later shared the video on “Snapchat” with an unknown number of other students

at Ridgeview.


 COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
 AND DECLARATORY JUDGMENT – Page | 5
           Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 6 of 13



      24.    On Monday, February 12, 2018, during first period Plaintiff was called into the

Ridgevue office and confined to a small room that was guarded by the Ridgvue school police

officer. Plaintiff requested to speak to his mother but was unable to reach her.

      25.    After multiple hours of questioning, Plaintiff was required to give a written statement

of the horse play that occurred on Friday February 9, 2018. Plaintiff’s mother was not present

during the questioning or the written statement.

      26.    At some point thereafter, a written report (hereinafter “Report”) was created by

Ridgevue’s Vice Principle, Jeremy Berquist which vaguely claimed that Plaintiff became

“physical” with J.M., tackled J.M., and used a car key to penetrate J.M.’s rectum multiple times.

The Report also classified the incident as sexual harassment and charged Plaintiff as the “Main

instigator/aggressor.”

      27.    On February 12, 2018, Plaintiff and Brenda Wann were informed by letter that a

hearing before a Vallivue District Discipline Review Team (hereinafter “Discipline Team”) would

be held the next day, Tuesday, February 13, 2018.

      28.    Plaintiff was not informed that any persons made written statements against him, nor

was he given access to any of the written statements made against him.

      29.    Prior to the hearing, Vallivue Superintendent Pat Charleton approached Plaintiff and

told Plaintiff to “take responsibility” for everything he is accused of and that “everything would

be okay” if he did so.

      30.    Prior to any statements, the Hearing Officer explained the following process for the

hearing:


 COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
 AND DECLARATORY JUDGMENT – Page | 6
         Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 7 of 13



      “Jeremy Bergquist will present the case and documentation. You will have the opportunity
      to respond. The District Discipline Review Committee members will have the opportunity
      to ask questions. Then you will have the opportunity for further statements. We will then
      ask everyone to leave the room as the District Discipline Review Committee deliberates the
      case. Immediately following the deliberation, you will be invited back into the room and be
      notified of the team's action. Do you have any questions?”

      31.   Thereafter, Mr. Berquist read the Report into the record. No witness statements were

read or produced, no adult or minor witnesses were presented for questioning or cross examination.

Brooks was not given any notice regarding what statements were made that lead to the Report and

was not given any opportunity to question the Report, the basis for the Report, or to seek

clarification of what the vague language used in the Report was actually accusing him of.

      32.   At the hearing, Brooks denied the “penetration” portion of the Report but, influenced

by Mr. Charlton, apologized for the situation. Plaintiff was asked several hypotheticals but never

asked to explain the situation in his own words. Plaintiff repeatedly testified that J.M. and others

were laughing and that J.M. was a friend.

      33.   Plaintiff was not at any point prior to or during the hearing, informed that their were

witness statements made against him, who made them, or that he had a right to cross examine the

witnesses who made those statements.

      34.   The Discipline Team, without giving explanation, referred Plaintiff to a formal

expulsion hearing set for February 20, 2018 (“Expulsion Hearing”).

      35.   At the Expulsion Hearing, the Administrative Review Team was given a “DDRC

Packet.” It is unclear what information was in the DDRC Packet. Plaintiff was not given a copy

of the DDRC Packet or informed of what information it contained.




 COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
 AND DECLARATORY JUDGMENT – Page | 7
           Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 8 of 13



      36.     The hearing officer who presided over the Expulsion Hearing explained the process

as follows:

      “Dr. Yamamoto will present the case and documentation. You will have the opportunity to
      respond. The District Administrative Review Team members will have the opportunity to
      ask questions. Then you will have the opportunity for further statements. We will then ask
      everyone to leave the room as the District Administrative Review Team deliberates the case.
      Immediately following the deliberation, you will be invited back into the room and be
      notified of the team's action. Do you have any questions?”

      37.     The DDRC Packet, nor any other documentation was presented or read into the record

at the Expulsion Hearing, all that was said is that “The packet is the same as last week’s DDRC

packet.”

      38.     Again, Plaintiff was not at any point prior to or during the Expulsion Hearing given a

copy of the DDRC Packet, nor informed that there were witness statements made against him,

who made them, or that he had a right to cross examine the witnesses who made those statements.

      39.     Without explanation, the Discipline Team expelled Plaintiff from Ridgevue and any

Vallivue School District Property for any reason for one calendar year.

      40.     Plaintiff, through counsel, requested a hearing de novo, based on Due Process

violations stemming from Plaintiffs denial of access to the witness statement and denial of his

right to cross examine witnesses. Witness statements were finally produced for Plaintiff on March

22, 2018.

      41.     The witnesses against Plaintiff include students J.M., M.S., and K.B. and adult faculty

Tom Dewitz, Neil Stuzman, and Ryan Anderson.

      42.     On March 12, 2018, after multiple weeks of communications with the District, Pat




 COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
 AND DECLARATORY JUDGMENT – Page | 8
          Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 9 of 13



 Charlton scheduled a de novo hearing for April 3, 2018. That hearing was then rescheduled for

 April 10, 2018. On April 10, 2018, less than two hours before the hearing was scheduled, counsel

 for Plaintiff was informed that the District cancelled the hearing, claiming that Plaintiff’s request

 was untimely. Counsel for the District also claimed that Plaintiff did not have the right to a de

 novo hearing on Due Process grounds because Plaintiff did not have the right to cross examine the

 minor witnesses nor the adult witnesses unless he produced them.

       43.   This Complaint has been filed seeking declaratory judgment that Plaintiff is entitled

 to cross examine both adult and minor witnesses whose statements form the basis of the Report.


                                      CLAIMS FOR RELIEF

                                            COUNT I
                                       Denial of Due Process

       44.     Plaintiff repeats herein by this reference each and every allegation set forth in

Paragraphs 1 through 43, inclusive, as if said paragraphs were set forth herein in full.

       45.   Plaintiff has a Constitutional right, protected by the United States Constitution, not to

be deprived of Life, Liberty, or Property without Due Process.

       46.   “[T]he State is constrained to recognize a student’s legitimate entitlement to a public

education as a property interest which is protected by the Due Process Clause and which may not

be taken away for misconduct without adherence to the minimum procedures required by that

Clause.” Goss v. Lopez, 419 U.S. 565, 574, 95 S. Ct. 729, 736 (1975).

       47.   “The Due Process Clause also forbids arbitrary deprivations of liberty. ‘Where a

person’s good name, reputation, honor, or integrity is at stake because of what the government is


  COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
  AND DECLARATORY JUDGMENT – Page | 9
         Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 10 of 13



doing to him,’ the minimal requirements of the Clause must be satisfied.” Goss v. Lopez, 419 U.S.

565, 574, 95 S. Ct. 729, 736 (1975).

       48.   Having chosen to extend the right to an education to people of Plaintiff’s class

generally, the District “may not withdraw that right on grounds of misconduct, absent

fundamentally fair procedures to determine whether the misconduct has occurred.” Goss v. Lopez,

419 U.S. 565, 574, 95 S. Ct. 729, 736 (1975).

       49.   “The Fourteenth Amendment, as now applied to the States, protects the citizen against

the State itself and all of its creatures -- Boards of Education not excepted.” Goss v. Lopez, 419

U.S. 565, 574, 95 S. Ct. 729, 736 (1975).

       50.   School authorities here expelled Plaintiff from school for one year based on charges

of misconduct, including sexual harassment and bullying. As the United States Supreme Court has

recognizes, “[i]f sustained and recorded, those charges could seriously damage the [Plaintiff’s]

standing with their fellow pupils and their teachers as well as interfere with later opportunities for

higher education and employment. It is apparent that the claimed right of the State to determine

unilaterally and without process whether that misconduct has occurred immediately collides with

the requirements of the Constitution.” Goss v. Lopez, 419 U.S. 565, 574, 95 S. Ct. 729, 736 (1975).

       51.   The Ninth Circuit has held that expulsion procedures are unconstitutional for failing

to provide a hearing at which the student could be represented by counsel and, through counsel,

present witnesses on his own behalf, and cross-examine adverse witnesses. Black Coalition v.

Portland School Dist., 484 F.2d 1040, 1045 (9th Cir. 1973) (emphasis added).

       52.   To comply with the due process guarantees under the U.S. Constitution, the District


  COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
  AND DECLARATORY JUDGMENT – Page | 10
         Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 11 of 13



must provide the Plaintiff with a fair, pre-deprivation hearing prior to expelling Plaintiff. The

District’s administrative procedures and practices do not allow Plaintiff to discover or confront the

evidence against him. Those procedures are therefore inconsistent with the Due Process Clause of

U.S. CONST. amend. XIV.

       53.   The District denied Plaintiff his Constitutional Right to Due Process when it, inter

alia, admitted the hearsay Report based on the hearsay statements of students J.M., M.S., and K.B.

and adult faculty Tom Dewitz, Neil Stuzman, and Ryan Anderson, without giving Plaintiff notice

of these statements or an opportunity to cross examine these witnesses.

       54.   Under 42 U.S.C. § 1983, the plaintiff is entitled to injunctive and prospective relief

prohibiting the Defendant from violating his rights, privileges, or immunities under federal law.

       55.   As a result of the actions and omissions of the Defendant herein the Plaintiff

has suffered damages in an amount to be proved at trial.

                                        COUNT II
          Declaratory Judgment that I.C. § 33-205 violated the U.S. Const. Am. VIX
                                and the Supremacy Clause

       56.     Plaintiff repeats herein by this reference each and every allegation set forth in

Paragraphs 1 through 55, inclusive, as if said paragraphs were set forth herein in full.

       57.     Idaho Code § 33-205 limits Plaintiff’s right to cross-examine to adult witnesses in

violation of U.S. Const. Am. VIX and the Supremacy Clause.

       58.     Plaintiff seeks declaratory judgment that Idaho Code § 33-205 is unconstitutional

because Plaintiff has a constitutional due process right to confront all witnesses against him.




  COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
  AND DECLARATORY JUDGMENT – Page | 11
          Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 12 of 13



                                             COUNT III
                                      Violation of I.C. § 33-205

       59.     Plaintiff repeats herein by this reference each and every allegation set forth in

Paragraphs 1 through 58, inclusive, as if said paragraphs were set forth herein in full.

       60.     Idaho Code § 33-205 provides that Plaintiff has a right to cross-examine adult

witnesses against him.

       61.   The District violated Idaho Code § 33-205 when it failed to produce adult faculty Tom

 Dewitz, Neil Stuzman, and Ryan Anderson at the Expulsion Hearing.

       62.   Plaintiff is entitled to injunctive and prospective relief prohibiting the Defendant from

enforcing the expulsion in violation of his rights, privileges, or immunities under federal law.

       63.   As a result of the actions and omissions of the Defendant herein the Plaintiff

has suffered damages in an amount to be proved at trial.

                                           CONCLUSION

         WHEREFORE, the plaintiffs pray that this Court order the following relief and remedies:

       A.      Declare that the Defendant’s expulsion of Plaintiff without providing Plaintiff a right

to cross examination constitutes a denial of Plaintiff’s constitutionally protected right to due process

guaranteed by 42 U.S.C. §1983, and the Fourteenth Amendment to the Constitution.

       B.      Declare that I.C. § 33-205 violated the U.S. Const. Am. VIX and the Supremacy

Clause by attempting to limit Plaintiff’s right to cross examine adverse witnesses to adult witnesses.

       C.      Declare that Defendant violated I.C. § 33-205 when it failed to produce adult faculty

Tom Dewitz, Neil Stuzman, and Ryan Anderson at the Expulsion Hearing.



  COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
  AND DECLARATORY JUDGMENT – Page | 12
         Case 1:18-cv-00184-CWD Document 1 Filed 04/26/18 Page 13 of 13



       D.      Grant a temporary restraining order, preliminary injunction, and permanent

injunction enjoining Defendant and its officers, agents, employees, attorneys, and all persons who

are in active concert or participation with it from enforcing the expulsion decision on Plaintiff.

        E.     Waive the requirement for the posting of a bond as security for the entry of

 preliminary relief.

        F.     Award the Plaintiff the costs of this action and reasonable attorney’s fees and costs

 pursuant to Fed. R. Civ. P. 54, 42 U.S.C. § 1988 and as otherwise may be allowed by law.

        G.     Award Plaintiff damages as may be proven at trial.

        H.     All such other and further relief as the Court deems to be just and equitable.

                                        JURY DEMAND

               The Plaintiff herein demands a jury trial on all issues triable to a jury.



        DATED this 26th day of April, 2018, at Boise, Idaho.


                                              Simmons Townsend PLLC


                                              BY:              /s/ Chynna C. Simmons
                                                      Chynna C. Simmons
                                                      Attorneys For Plaintiff Brooks Wann




  COMPLAINT FOR inter alia TEMPORARY AND PERMANENT INJUCTIVE RELIEF
  AND DECLARATORY JUDGMENT – Page | 13
